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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND
        Chambers of                                                       101 West Lombard Street
GEORGE L. RUSSELL, III                                                    Baltimore, Maryland 21201
 United States District Judge                                                   410-962-4055

                                          May 31, 2022

MEMORANDUM TO COUNSEL RE:                            David Sydney, et al. v. Cedar Realty Trust,
                                                     Inc., et al.
                                                     Civil Action No. GLR-22-1142

Dear Counsel:

       Pending before the Court is Plaintiffs’ Renewed Motion for Expedited Discovery (“Motion
to Expedite”) (ECF No. 32). Through the Motion to Expedite, Plaintiffs seek an order requiring
Defendants to provide discovery prior to the June 22, 2022 hearing on the pending Motions for
Temporary Restraining Order and Preliminary Injunction (ECF Nos. 8, 13). A regular briefing
schedule would result in the Motion to Expedite becoming fully briefed the day after the pending
hearing. See Local Rule 105.2(a) (“Unless otherwise ordered by the Court, all memoranda in
opposition to a motion shall be filed within fourteen (14) days of the service of the motion and any
reply memoranda within fourteen (14) days after service of the opposition memoranda.”).

       District courts have broad discretion to manage the schedule in the litigation before them.
See Ardrey v. United Parcel Serv., 798 F.2d 679, 682 (4th Cir. 1986); Fed.R.Civ.P. 16(a); Local
Rule 105.2(a) (providing that “[a]ll motions must be filed within deadlines set by the Court” and
providing deadlines for oppositions and reply memoranda “[u]nless otherwise ordered by the
Court”). The Court will therefore issue an expedited briefing schedule for the Motion to Expedite
to ensure that to the extent the Court finds the Motion meritorious and decides to grant the Motion
in whole or in part, it may do so with time to effectuate the relief sought therein.

       Accordingly, the Court will SET the following briefing and hearing schedule on the Motion
to Expedite:

    •   June 2, 2022 at 5:00 p.m.: Defendants’ opposition to the Motion to Expedite is due;
    •   June 6, 2022 at 12:00 p.m.: Plaintiffs’ reply brief is due; and
    •   June 7, 2022 at 2:30 p.m.: Teleconference to resolve the Motion to Expedite. Plaintiffs’
        counsel should initiate the teleconference.

       Despite the informal nature of this memorandum, it shall constitute an Order of the Court,
and the Clerk is directed to docket it accordingly.

                                              Very truly yours,

                                                        /s/
                                              George L. Russell, III
                                              United States District Judge
